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 1   VICKI H. YOUNG
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     Palo Alto, California 94301
 3   Telephone (415) 421-4347

 4   Counsel for Defendant Donovan Kargenian

 5

 6                          IN THE UNITED STATES DISTRICT COURT

 7                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8
                                                                     *E-FILED - 10/4/06*
 9

10   UNITED STATES OF AMERICA,                     )     No. CR 06-00054 RMW
                                                   )
11                  Plaintiff,                     )     STIPULATION TO CONTINUE
                                                   )     SENTENCING DATE;
12                  vs.                            )     [] ORDER
                                                   )
13   DONOVAN KARGENIAN,                            )
                                                   )
14                  Defendant.                     )
                                               )
15

16          It is hereby stipulated between the United States of America, by and through Assistant
17   United States Attorney Mark Krotoski, and defendant Donovan Kargenian, by and through his
18   defense counsel, Vicki H. Young, that the sentencing date of October 10, 2006 be continued to

19   November 13, 2006, at 9:00 a.m.

20          This continuance is necessary because the defense counsel needs additional time to prepare

21   objections to the draft presentence report and to prepare sentencing memorandum.

22          Probation Officer Lynne Richards has been advised of this continuance and has no objection.

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26          It is so stipulated.

     STIP AND [] ORDER
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         Case 5:06-cr-00054-RMW      Document 234         Filed 10/04/06   Page 2 of 2




 1   Dated: September 26, 2006                        Respectfully submitted,

 2

 3
                                                         /s/ Vicki H. Young
 4                                                    VICKI H. YOUNG
                                                      Attorney for Donovan Kargenian
 5

 6   Dated: September 26, 2006                        KEVIN V. RYAN
                                                      United States Attorney
 7

 8
                                                        /s/ Mark Krotoski
 9                                                    MARK KROTOSKI
                                                      Assistant United States Attorney
10

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13
                                         [] ORDER
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16           GOOD CAUSE BEING SHOWN, the sentencing date of October 10, 2006, at 9:00 a.m. is
17   continued to November 13, 2006, at 9:00 a.m.
18           IT IS SO ORDERED.

19   DATED: 10/4/06                                    /S/ RONALD M. WHYTE
                                                      _____________________________
                                                      RONALD M. WHYTE
20                                                    United States District Judge
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     STIP AND [] ORDER
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